              Exhibit 3



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ELECTRONICALLY FILED
2023 Nov 16 12:11 PM - 23CV-396
Coffee County, Chancery Court


                                                STATE OF TENNESSEE, COUNTY OF COFFEE, CHANCERY COURT

 SAMANTHA REED; ET AL                                                              Case No.:    23CV-396
                                                            Plaintiff/Petitioner
 vs.
 TYSON FOODS, INC.                                                                 DECLARATION OF SERVICE OF
                                                       Defendant/Respondent        SUMMONS; COMPLAINT


 Received by Vanessa Voigt, on the 26th day of October, 2023 at 3:33 PM to be served upon Tyson Foods, Inc. at
 2000 Biffle Road, Newbern, Dyer County, TN 38059.
 On the 27th day of October, 2023 at 9:58 AM, I, Vanessa Voigt, SERVED Tyson Foods, Inc. at 2000 Biffle Road,
 Newbern, Dyer County, TN 38059 in the manner indicated below:

 CORPORATE SERVICE, by personally delivering 1 copy(ies) of the above listed documents to the named Corporation,
 by serving Janie Connolley, on behalf of said Corporation.
 THE DESCRIPTION OF THE PERSON WITH WHOM THE COPY OF THIS PROCESS WAS LEFT IS AS FOLLOWS:
 I delivered the documents to Janie Connolley who identified themselves as the corporate officer with identity
 confirmed by subject stating their name. The individual accepted service with direct delivery. The individual
 appeared to be a blonde-haired white female contact 35-45 years of age, 5'8"-5'10" tall and weighing 200-240 lbs.

 Service Fee Total: $85.00

 I am a citizen of the United States, over the age of eighteen, not a party to nor interested in the above entitled action, and
 have the proper authority in the jurisdiction in which this service was made. Under penalties of perjury, I declare that I
 have read the foregoing document and that the facts stated in it are true and accurate.
           {{t:s;r:y;o:"Signer";w:199;h:25;}}




 NAME:                                                                       NA                            10/27/2023
                                                                                                           {{t:t;r:y;o:"Signer";l:"Date";w:70;h:10;v:"13435fa6c2a17f83177fcbb5c4a9376ce85befeb";}}




           Vanessa Voigt; 66 Cherry Blossom Drive,                           Server ID #                   Date
           Huntingdon, TN 38344




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               REF: REF-14018737                                                                                                     Tracking #: 0116944757

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